10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

Case 3:15-cv-05346-BJR Document 333 Filed 01/12/18 Page 1 of 3

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

FREDRICK and ANNALESA THOMAS; and
JO-HANNA READ, as Guardian ad Litem of
E.T., a minor,

Plaintiffs,
Vv.

JASON CANNON; BRIAN MARKERT;
RYAN MICENKO; MICHAEL WILEY;
MICHAEL ZARO; CITY OF FIFE; CITY OF
LAKEWOOD; and PIERCE COUNTY
METRO SWAT TEAM,

Defendants.

 

FREDRICK THOMAS and ANNALESA
THOMAS, as Co-Administrators of the Estate
of Leonard Thomas, and its statutory
beneficiaries,

Plaintiffs,
V.

BRIAN MARKERT; MICHAEL WILEY;
NATHAN VANCE; MICHAEL ZARO;
SCOTT GREEN; JEFF RACKLEY; CITY OF
FIFE; CITY OF LAKEWOOD; PIERCE
COUNTY METRO SWAT TEAM; and JOHN
DOES 1 through 10,

Defendants.

 

 

 

 

Nos. 3:15-05346 BJR
3:16-cv-05392
CONSOLIDATED CASES

ORDER AMENDING
JUDGMENT

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

 

Case 3:15-cv-05346-BJR Document 333 Filed 01/12/18 Page 2 of 3

This matter having come before this Court upon Plaintiffs’ Motion to Amend Judgment,
the Court having reviewed the records and files herein, including the jury’s verdict (Dkt. 237),
the Court’s original judgment (Dkt. 241), the plaintiffs motion to amend the judgment, and any
response by the defendants, and being fully advised; now therefore it is hereby

ORDERED that

Based on the Jury’s responses on the verdict form (Dkt. No. 237), judgment is entered as
follows:

(1) in favor of plaintiff E.T. in the amount of $500,000 against defendants Michael Zaro,
Michael Wiley, Brian Markert, and the City of Lakewood, jointly and severally;

(2) in favor of plaintiff E.T. in the amount of $2,750,000 against defendants Michael Zaro
and the City of Lakewood, jointly and severally;

(3) in favor of plaintiff E.T. in the amount of $125,000 against defendants Michael Zaro,
Michael Wiley, and the City of Lakewood, jointly and severally;

(4) in favor of plaintiff E.T. in the amount of $125,000 against defendant the City of
Lakewood;

(5) in favor of plaintiff E.T. in the amount of $500,000 against defendants the City of
Lakewood and the City of Fife, jointly and severally;

(6) in favor of plaintiff the Estate of Leonard Thomas in the amount of $1,750,000
against defendants Michael Zaro, Michael Wiley, Brian Markert, and the City of Lakewood,
jointly and severally;

(7) in favor of plaintiff the Estate of Leonard Thomas in the amount of $125,000 against
defendants Michael Zaro, Michael Wiley, and the City of Lakewood, jointly and severally;

(8) in favor of plaintiff the Estate of Leonard Thomas in the amount of $10,000 against
defendant Michael Wiley;

(9) in favor of plaintiff Annalesa Thomas in the amount of $750,000 against defendants

Michael Zaro and the City of Lakewood, jointly and severally;

(Proposed) ORDER AMENDING JUDGMENT - 2 MACDONALD HOAGUE & BAYLESS
705 Second Avenue, Suite 1500
Nos. 3:15-05346/3:16-cv-05392 BJR Seattle, Washington. 98104

Tel 206.622.1604 Fax 206.343.3961
10633 1 khO86004

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

 

Case 3:15-cv-05346-BJR Document 333 Filed 01/12/18 Page 3 of 3

(10) in favor of plaintiff Annalesa Thomas in the amount of $500,000 against defendants
Michael Zaro, Michael Wiley, and the City of Lakewood, jointly and severally;

(11) in favor of plaintiff Annalesa Thomas in the amount of $125,000 against defendant
the City of Lakewood;

(12) in favor of plaintiff Fred Thomas in the amount of $750,000 against defendants
Michael Zaro and the City of Lakewood, jointly and severally;

(13) in favor of plaintiff Fred Thomas in the amount of $125,000 against defendants
Michael Zaro, Michael Wiley, and the City of Lakewood, jointly and severally;

(14) in favor of plaintiff Fred Thomas in the amount of $500,000 against the City of
Lakewood;

(15) in favor of defendant Nathan Vance; and

(16) in favor of defendant Ryan Micenko.

In addition, the following punitive damages are assessed in favor of all plaintiffs, jointly,
against: (1) Defendant Michael Zaro in the amount of $3,000,000; (2) Defendant Michael Wiley
in the amount of $1,500,000; and (3) Defendant Brian Markert in the amount of $2,000,000.

DATED this /p& day of _UGwwe @6Y , 2017.

(a Ueehete. dd

Honorable Barbely 1 . Rothstein
United States District Court Judge

Presented by:
MacDONALD HOAGUE & BAYLESS

By_/s/ Tiffany Cartwright__
Timothy K. Ford, WSBA #5986
David J. Whedbee, WSBA #35977
Tiffany M. Cartwright, WSBA #43564
Attorneys for Plaintiffs

(Proposed) ORDER AMENDING JUDGMENT - 3 MACDONALD HOAGUE & BAYLESS
705 Second Avenue, Suite 1500
Nos, 3:15-05346/3:16-cv-05392 BJR Seattle, Washington 98104

Tel 206.622.1604 Fax 206.343.3961
10633. 1 kh086004

 
